        Case 3:14-cr-02471-MMA                 Document 91           Filed 01/22/15           PageID.250        Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIJ\.r::,
                                                                            t
                                                                                    1 ,,')?
                                                                                '..- ' , :;".  ,~;        L_
                                                                                                                II: 06
            UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL; CASE' ,:
                                 V.                                (For Offenses Committed On or After Novenioe~f;\~87)
                TOMAS FLORES-VIDAL (3)                                                                          .....c:'
                                                                      Case Number:         14CR2471 MMA                D(l'UTY


                                                                   GEORGE HUNT
                                                                   Defendant's Attorney
REGISTRAnON NO.                  42231298
o ­
THE DEFENDANT:
IZI pleaded guilty to count(s)         TWO OF THE INFORMATION

o was found gUilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                       Nature of Offense                                                                Number(s)
8 USC 1326                            REMOVED ALIEN FOUND IN THE UNITED STATES                                               2




     The defendant is sentenced as provided in pages 2 through               2            ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

o The defendant has been found not guilty on count(s)
o Count(s)                                                    is         dismissed on the motion of the United States.

IZI   Assessment: $100.00




IZI   No fine                0 Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until aU fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                                                   14CR2471 MMA
       Case 3:14-cr-02471-MMA             Document 91        Filed 01/22/15       PageID.251        Page 2 of 2
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:               TOMAS FLORES-VIDAL (3)                                                  Judgment - Page 2 of2
CASE NUMBER:             14CR2471 MMA

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau ofPrisons to be imprisoned for a term of:
EIGHTEEN (18) MONTHS




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
I2J   The court makes the following recommendations to the Bureau of Prisons:
      COURT RECOMMENDS PLACEMENT IN THE WESTERN REGION OF THE UNITED STATES.




o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      o    at                              A.M.              on
      o    as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      o    on or before
      o    as notified by the United States Marshal.
      o    as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:


                               -------------------------- to ------------------------------
      Defendant delivered on

at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL




                                                                                                      14CR2471 MMA
